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Exhibit 16
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‘tuinn emmanuel trial lawyers

September 25, 2012 Matter # 61937
Page 601 Invoice # 1186440
Date Timekeeper Description Hours

08/17/12 WHI Performed first level review of documents from@aya 6.50...
and@ 3 for responsiveness and initial identification of ve
potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for
production and, given the responses and objections that@
has made, which documents should be withheld from

production for either privilege or non-responsiveness.

 

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00212741
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quinn emanuel trial lawyers

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Page 700 Invoice # 1186440

Date Timekeeper Description Hours

         
    
 

 

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and @ for responsiveness and initial identification of
potentially privileged documents for further review and

eventual inclusion the privilege log ordered by the Court. The

overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for

production and, given the responses and objections that

has made, which documents should be withheld from

production for either privilege or non-responsiveness.

 

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00212840
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September 25, 2012 Matter #61937
Page 762 Invoice # 1186440
Date Timekeeper Hours

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and Ga for responsiveness and initial identification of
potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for
production and, given the responses and objections that@gg»
has made, which documents should be withheld from

production for either privilege or non-responsiveness.

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00212902
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September 25, 2012 Matter # 61937
Page 882 invoice # 1186440
Date Timekeeper Description

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and@ or responsiveness and initial identification of
potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
overall purpose of this first-level review is to determine which
documents are responsive to the Defendants’ requests for
production and, given the responses and objections that@yy
has made, which documents should be withheld from
production for either privilege or non-responsiveness.

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00213022
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September 25, 2012 Matter # 61937
Page 937 Invoice # 1186440
Date Timekeeper Description ; Hours

       
   

08/24/12 WHi Performed first level review of documents from@ 7.00
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potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The

overall purpose of this first-level review is to determine which

documents are responsive to the Defendants’ requests for

production and, given the responses and objections that@)
has made, which documents should be withheld from
production for either privilege or non-responsiveness.

 

 

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00213077
